       Case 1:20-cv-03153-RMP        ECF No. 4   filed 12/03/20    PageID.13 Page 1 of 2



1
                                                                       FILED IN THE
2                                                                  U.S. DISTRICT COURT
                                                             EASTERN DISTRICT OF WASHINGTON



3                                                            Dec 03, 2020
                                                                  SEAN F. MCAVOY, CLERK

4

5                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
6

7     KING MOUNTAIN TOBACCO
      COMPANY, INC.,                               NO: 1:20-CV-3153-RMP
8
                                  Plaintiff,       ORDER OF DISMISSAL WITHOUT
9                                                  PREJUDICE
            v.
10
      UNITED STATES OF AMERICA,
11    and UNITED STATES
      DEPARTMENT OF TREASURY,
12
                                  Defendants.
13

14         BEFORE THE COURT is Plaintiffs’ Notice of Voluntary Dismissal, ECF No.

15   3. Having reviewed the Notice and the record, the Court is fully informed.

16   Accordingly, IT IS HEREBY ORDERED:

17         1. Plaintiffs’ Notice of Voluntary Dismissal, ECF No. 3, is APPROVED.

18         2. Plaintiffs’ Complaint is dismissed without prejudice and without costs to

19               any party.

20         3. All pending motions, if any, are DENIED AS MOOT.

21         4. All scheduled court hearings, if any, are STRICKEN.



     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 1
        Case 1:20-cv-03153-RMP     ECF No. 4   filed 12/03/20   PageID.14 Page 2 of 2



1          IT IS SO ORDERED. The District Court Clerk is directed to enter this

2    Order, provide copies to counsel, and close this case.

3          DATED December 3, 2020.

4
                                                s/ Rosanna Malouf Peterson
5                                            ROSANNA MALOUF PETERSON
                                                United States District Judge
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     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 2
